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UNITED STATES DISTRICT COURT

l FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED sTATEs oF AMERICA, CR NOClR~] 8 ... 03 4 5___{__9'\:3\}\)
PMMMH, LHEQBMALLQQ
v. [13 U.S.c. § 666(a)(1)(B)= Bribery
of Programs Receiving Federal
JOHN SARO BALIAN, Funds; 18 U.S.C. § 1512{0)(2):
Obstruction of Justice; 18 U.S.C.
Defendant. § lOOl(a)(Z): Making False
Statements]

 

 

The United States Attorney charges:
/COUNT ONE
[18 U.s.C. § 666(a) (1) (s)]

ll The City of Glendale, California (“Glendale“) was a local
government located in the Central District of California. The
Glendale Police Department (“GPD”) Was Glendale's law enforcement
"agency. Glendale received Federal assistance benefits in excess of
$10,000 during the onesyear period beginning April l, 2016, through
March 31, 2017.

2. The United States Marshals Service (“USMS”) is a Federal
law enforcement agency responsible in part for the apprehension of

fugitives. The USMS has a station located within the GPD.

 

 

 

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3. At all times relevant to this Information, defendant JOHN
SARO BALIAN (“BALIAN”) was an agent of Glendale employed in the
position of Detective at the GPD.

4. ns part of his duties, defendant BALIAN was responsible for
responding to reports of crimes, interviewing witnesses, Writing
investigative reports, and investigating individuals suspected of
having committed crimes. Defendant BALIAN was also responsible for
conducting background checks on suspects. Defendant BALIAN had
authority to access law enforcement databases and to seek the
assistance of the USMS to locate fugitives.

5. Beginning in or around February 2017, and continuing
through in or around March 2017, in Los Angeles County, within the
Central District of California, defendant BALIAN corruptly solicited,
demanded, accepted, and agreed to accept a thing of value, namely,
money, from D.N., intending to be influenced and rewarded in
connection with a business, transaction, and series of transactions
of the GPD having a value of $5,000 or more. Specifically, defendant
BALIAN solicited, demanded, accepted, and agreed to accept money from
D.N., intending to be influenced and rewarded in connection with

using law enforcement resources to locate A.B. and others.

 

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COUNT TWO
[18 U.S.C. § 1512{0){2)]

Beginning on or about June 16, 2015, and continuing to on or
about July 29, 2015, in Los Angeles County, within the Central
District of California, and elsewhere, defendant JOHN SARO BALIAN
corruptly cbstructed, influenced, and impeded, and corruptly
attempted.to obstruct, influence, and impede an official proceeding,
by knowingly and willfully assisting J.G. to avoid arrest in a
criminal matter before the United States District Court for the

Central District of California.

 

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COUNT THREE
[13 U.s.c. § 1001(a) (2)]

On or about 0ctober 10, 2017, in Los Angeles County, within the
Central District of California, and elsewhere, defendant JOHN SARO
BALIAN (“BALIAN"] knowingly and willfully made a materially false,
fictitious, and fraudulent statement in a matter within the
jurisdiction of the executive branch of the government of the United
States, specifically, the Federal Bureau of Investigation and the
Department of Homeland Security, by stating that defendant BALIAN did
not receive money from D.N. and did not recognize J.S., when in truth
and fact, as defendant BALIAN then well knew, defendant BALIAN had
accepted.$2,000 from D.N. to locate A.B. and defendant BALIAN had a

criminal business relationship with J.S.

NICOLA T. HANNA
United States Attorney

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LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

JUSTIN R. RHOADES

Assistant United States Attorney

Chief, Violent & Organized Crime
Section

JEFF MITCHELL

Assistant United States Attorney
Deputy Chief, Violent & Organized
Crime Section

 

